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                                         SUMMONS
                                 (CITA CION JUDICIAL)                                                                 C%                        e V

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YOU ARE BEING SUED BY PLAINTIFF:                                                                                 By:                           Deputy
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                      Isltayla Chambers

     LISA

             You have been sued. The court may decide against you Without your being heard unless you respond Within 30 days. Read the
 bei.
    You have 30 cALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the
                                                                                                                                             court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help CJte (www.courtinfoca.govlsel(help), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without fljrtherwarfltng from the court
                                                                                     away. If you do not know an attorney, you may want to call an attorney
      There are other legal requirements. You may want to call an attorney right
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 (ww.courtinfo.a.goV/SelfhelP). or by contacting your local court or county bar association. NOTE: The court has a statutory          lien for waived fees and
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                                        NOTICE TO THE PERSON SERVED: You are served
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                                             under.         CCP 416.10 (corporation)                                  CCP 416.60 (minor)
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Case 2:16-cv-02601-R-AGR Document 1-1 Filed 04/15/16 Page 3 of 18 Page ID #:7




    LISA DOUGLASS Individually as Plaintiff
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    Los Angeles, CA 9n 36                                             Sueriot Court of California
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                      SUPERIOR COURT OF THE STATE OF CALIFORNLAR
                                                        Stem A. Carter, xetutivb officer/Clerk
                                                                    By ShaUflYa Golden, Deputy
                              FOR THE COUNTY OF LOS ANGELES




     LISA DOUGLASS,                              CaseNo.           BC613959
                        Plaintiff

     Vs.                                               COMPLAINT FOR DAMAGES

      USAA Casualty Insurance, Incorporated            Violations of the Fair Reporting
                                                       Act
     10                                                Credit Damage                                If
                                                       Gross Negligence
      Bank of America Corporation, Inc                 False Reporting
                                                       Fraudulent Charges


      Equifax, Inc.

      &

      TransUnion, Corp.




       UNITED STATES SUPERIOR COURT
       Los Angeles, CA


       (Lisa Douglass)
        (JURY DEMAND ENDORSED HEREIN)

       Now comes Plaintiff, Lisa Douglass, and for her Complaint
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   against Defendants, Equifax, Inc., TransUnion, Inc and USAA Casualty Insurance, Inc.,
   Inc and Bank of America Corporation, Inc., states as follows:

   INTRODUCTION

     The computerization of our society has resulted in a revolutionary increase in the
   accumulation and processing of data concerning individual American citizens. Data
   technology, whether it is used by businesses, banks, the Internal Revenue Service or
   other institutions, allows information concerning individual consumers to flow
   instantaneously to requesting parties. Such timely information is intended to lead to
   faster and better decision-making by its recipients, and all of society should
   ultimately benefit from the resulting convenience and efficiency.

      Unfortunately, however, this information has also become readily available for,
   and subject to, mishandling and misuse. Individual consumers can sustain
   substantial damage, both emotionally and economically, whenever inaccurate or
   fraudulent information is disseminated and/or obtained about them. In fact,
   Defendant Equifax Inc. acknowledges this potential for misuse and resulting damage
   every time it solicits its credit monitoring service to a consumer.

     The ongoing technological advances in the area of data processing have resulted
   in a boon for the companies that accumulate and sell data concerning individuals'
   credit histories and other personal information. Such companies are commonly
   known as consumer reporting agencies ("CRAs").

     These CRAs sell to readily paying subscribers (i.e., retailers, landlords, lenders,
   potential employers and similar interested parties) information, commonly called
   "consumer reports," concerning individuals who may be applying for retail credit,
   for the lease of an apartment, for a car or mortgage loan, for employment or the like.

   S. Since 1970, when Congress enacted the Fair Credit Reporting Act, 15 U.S.C. §
   1681 et seq. ("FCRA"), federal law has required CRAs to implement and utilize
   reasonable procedures "to assure maximum possible accuracy" of the personal,
   private and financial information that they compile andsell about individual
   consumers.

     One of the primary purposes in requiring CRAs to assure "maximum possible
   accuracy" of consumer information is to ensure the stability of our banking system:
   The banking system is dependent upon fair and accurate credit reporting.
   Inaccurate credit reports directly impair the efficiency of the banking system, and
   unfair credit reporting methods undermine the public confidence which is
   essential to the continued functioning of the banking system.
   See 15 U.S.C. § 1681(a)(1).

     The preservation of one's good name is also at the heart of the FCRA's purposes:
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    [W]ith the trend toward computerization of billings and the establishment of all
   sorts of computerized data banks, the individual is in great danger of having his
   life and character reduced to impersonal "blips" and key-punch holes in a stolid
   and unthinking machine which can literally ruin his reputation without cause, and
   make him unemployable or uninsurable, as well as deny him the opportunity to
   obtain a mortgage to buy a home or drop out of school. We are not nearly as much
   concerned over thepossible mistaken turn-down of a consumer for a luxury item as
   we are over thepossible destruction of his good name without his knowledge and
   without reason.

   * * * [A]s Shakespeare said, the loss of one's good name is beyond price and
   makes one poor indeed (emphasis added).

   Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 Cong. Rec. 36570
   (1970)].

     To further the primary goal of greater accuracy, the FCRA has also required
   CRAs, as well as "furnishers" of credit information to the CRAs, to conduct
   "reasonable investigations" into bona fide disputes sent to CRAs by consumers
   claiming to have inaccurate or incomplete information appearing in their credit files,
   to correct or update any such errors or omissions, and to report back to the
   consumer the results of the investigation.

     This action seeks compensatory, statutory, and punitive damages, costs and
   reasonable attorneys' fees for Plaintiff, Lisa Douglass ("Ms. Douglass" or "Plaintiff'),
   against Equifax Inc, TransUnion, Inc. and USAA Casualty Insurance, Inc. and Bank of
   America Corporation, Inc., for their willful and/or negligent violations of the Fair
   Credit Reporting Act, as described herein.

   JURISDICTION AND VENUE

     This Court has subject matter jurisdiction over this matter pursuant to 15 U.S.C.
  §1681p. Venue in this superior court is proper because Plaintiff resides in this
  judicial district and many of the facts relevant to this Complaint occurred in this
  judicial district.

   PARTIES

       Plaintiff, Lisa M. Douglass ("Plaintiff' or "Ms. Douglass"), is an adult
   individual presently residing in Los Angeles, California. Plaintiff is a "consumer" as
   defined in Section 1681a(c) of the FCRA.

       Defendants, Equifax, Inc ("Equifax"), is a California Corporation doing business
   throughout the country and in the State of California. Equifax is a "consumer
   reporting agency" as defined in Section 1681a(f) the FCRA. Equifax is one of the
   largest CRAs in the world.
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   12a. Defendants TransUnion, Inc., is a California Corporation doing business
   throughout the country and in the State of California. Equifax is a "consumer
   reporting agency" as defined in Section 1681a(f) the FCRA. Equifax is one of the
   largest CRAs in the world.

        Defendant, USAA Insurance ("USAA"), is an independently owned, community
   bank headquartered in Texas, doing business nationally for former veterans and
   their sons and daughters. USAA is a "furnisher" of consumer credit information as
   that term is used in Section 168 ls-2
   of the FCRA.

      Defendant, Bank of America Corporation is an independently owned national
   bank, doing business nationally and in California and is a "furnisher of consumer
   credit information as that term is used in Section 168 ls-2.


   FACTUAL ALLEGATIONS

      Plaintiff takes great pride in her good name and established credit rating, so she
   works hard to ensure that her bills are paid in-full and on-time every month. As
   such, Plaintiff believes and understands that her credit record with all of her
   creditors is excellent.

     On June 30th, 2015, Ms. Douglass noticed a $500 "credit adjustment on her
   World Mastercard with USAA.

      Ms. Douglass Called and submitted a request to file a dispute with USAA, which
   they assured her they had done.

       Ms. Douglass noticed that though she had filed a dispute she was being charged
   late fees and finance charges, which isn't supposed to take place. When she called,
   she was told that no one would speak to her regarding this $500 dollars and she
   received a letter to that effect. In the letter, it simply says, "we will not speak to you
   regarding this issue."

       Ms. Douglass sent a certified letter asking that someone please look at this error
   and no one ever responded. Actually they did respond by turning her into
   collections. The Collection Agency is owned and operated by USAA. They called
   repeatedly and sent many letters saying that Ms. Douglass was in violation of paying
   her "bill." When Ms. Douglass reported that this amount of money was in dispute
   and not subject to fees and finance charges, they repeatedly hung up on her.

       Ms. Douglass noticed on another card that a $1000 adjustment had been placed
   on the card. When she called, they told her she was unable to file a dispute for a
   "credit adjustment."
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      Ms. Douglass filed a letter with the Financial Consumer Protection Bureau. At
   which time USAA said "we resent these allegations and give a permanent credit to
   Ms. Douglass' account in the amount of $1000." So, not only had they put 500 on one
   card, but then put $1000 on another card, resented her allegations, but then
   removed it, admitting the oversight it in writing.

       Ms. Douglass then asked for the $500 to be reversed and began getting letters
   saying her credit card was cut off for late payment.

       Ms. Douglass received multiple phone calls from the USAA collection agency.
   When she reported this as a mistake, the clerk told her many times USAA made
   these math errors all the time and to just explain it when she called.

      After calling over 45 times and writing numerous letters, Ms. Douglass was
   notified by mail that her credit score dropped due to late payment.

      Ms. Douglass then filed a suit in small claims court.

       The attorney for the other side, Maureen Michael called Ms. Douglass to settle
   out of court saying that USAA would drop Ms. Douglass from all three cards if she
   didn't settle. Ms. Douglass said she didn't like to be threatened and left it at that.

      The weeks before the trial date in small claims, Ms. Douglass credit limit was
   substantially lowered from two of her Bank of America credit cards, they lowered
   her amount substantially for a late payment going onto her credit reports.

       When Ms. Douglass tried to contact Bank of America, they told her it was due to
   the reporting of USAA claiming she paid late or not at all.

       Ms. Douglass is a full time student and had planned on using the amounts left (in
   the amount of ($6000) to pay her tuition. When she called to explain her situation
   they told her the only way she could get the amounts back was to do a hard inquiry.

       Ms. Douglass refused to allow this and researched further. Two years prior, Ms.
   Douglass was speaking to an agent at Bank of America, when doing a balance
   transfer and asked that some of the money on one card be moved to another card.
   The agent did not inform her that they were doing a hard inquiry in order to shift
   around some of her credit. Ms. Douglass had Bank of America corporate offices
   investigate.

      Bank of America called to apologize that this agent had not told Ms. Douglass and
   promised to have the hard inquiry removed post haste. At that time they also
   credited her $800 for balance transfers as an apology.

       Despite Ms. Douglass calling and letters to Bank of America, they kept telling her
   that it was up to her to have TransUnion and Equifax remove this inquiry.
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      Ms. Douglass called and wrote to TransUnion and Equifax to have this hard
   inquiry removed but never heard back.

       Ms. Douglass wrote to the Better Business Bureau and they told her it was out of
   their jurisdiction because she had filed a small claims case. Subsequently, the case
   was not heard because there was a pro-tern and Ms. Douglass saw that now, one
   issue with USAA had caused three other issues with her credit.

      Regarding the recent drop in two cards of Bank of America, Ms. Douglass was
   phoned by an agent by the name of Angela Lees. Ms. Lees told Ms. Douglass that
   Bank of America had no intention of removing the hard inquiry and would not
   change back the credit limits so Ms. Douglass could stay in school. She said that any
   investigation would result in yet another hard inquiry.

       Ms. Douglass thought perhaps now that she would have to drop out of school,
   that she should write to the President of Bank of America. She sent a certified letter
   and was ignored.

      Ms. Douglass trusted Bank of America to keep their word to remove this hard
   inquiry and found it an untenable situation that every phone call and letter was
   simply deflected with, "Though we promised, you wait two years."

       The day before court, Ms. Douglass found that USAA attempted to call their
   attorney Maureen Michaels and she did not respond. Ms. Douglass thought this was
   a mistake and spoke with her assistant who told her she most certainly is getting the
   calls, she's just ignoring you. The damage USAA did to Ms. Douglass rating caused
   Bank of America to drop her limits causing a substantial drop in her credit score. On
   the day Ms. Douglass showed for court, there was a Pro-Tern sitting in for the
   regular judge and Ms. Douglass did not feel comfortable having her case heard by a
   Pro-Tern, so she asked for the case to be continued but then decided it should be
   heard in a higher court, now that USAA's unfair reporting had caused two credit
   cards to drop her limits over $6000.

      On or around February 25, 2016, Ms. Douglass was contacted by Angela Lees by
   Bank of America who posed as an agent of the corporate offices of Bank of America.
   Ms. Lees told her that the bank did appreciate her business they would never
   contact Equifax and TransUnion to remove the hard inquiry. Ms. Lees stated over
   and over that in two more years the bad mark would be removed. When Ms.
   Douglass tried to say, it was an Error from USAA that caused this credit flag, Angela
   Lees said, "then you'll have to drop out of school I guess." She was told that the
   phone call would be recorded, so hopefully you can get it for your records.

      Plaintiff was shocked, confused and upset, especially given that Bank of America
   had promised that Ms. Douglass's transaction with them would not affect her
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   creditworthiness, and because though she paid on time every month, they
   haphazardly decided to drop her limits without warning and not offer to fix it even
   though they knew the new information appearing on her credit report was
   obviously false.

       Plaintiff believed that such a ridiculous error could and would be remedied
   easily. Plaintiff explained that after she filed a case against USAA, they reversed all
   the charges from her credit card. Still Bank of America didn't listen.

       Plaintiff immediately asked Bank of America to escalate this to request they clear
   up any errors they had made in their reporting to Equifax and TransUnion, but Ms.
   Lees refused. Ms. Lees said she spoke on behalf of the CEO of Bank of America and
   that no further escalation would be attempted to remedy the problem.

       On February 26, 2016, Ms. Douglass received another letter from Bank of
   America explaining that her credit limits were severely lowered due to a reporting
   of late payment (USAA).

       Ms. Douglass experienced tremendous stress and anxiety. Not only had she
   never had a late payment with Bank of America, but she found out they never did
   what they had promised, knowingly deliberately harming her credit reports without
   a care in the world. When Ms. Douglass saw that the lowering of the two cards also
   severely affected her credit reports and that bank of America was unwilling to help
   Ms. Douglass in any way. She decided to go before a judge.

      After several unsuccessful calls to Bank of America, in February 2016, Ms.
   Douglass contacted Equifax and TransUnion again by phone to dispute any hard
   inquiry that Bank of America had made and not removed, and they told her that it
   was up to Bank of America to remove it and they had never written to them. She also
   then was told how the drop in the two cards was grossly affecting her credit. Ms.
   Douglass wondered how this would be different if she was not a person who paid on
   time every month and had always carried credit and then paid it off.

       Plaintiff trusted and believed that USAA and Bank of America would not fix the
   issues after being told that it was up to her. Plaintiff asked Bank of America if she
   should continue paying her balance at all now that they had destroyed her credit. OF
   course, she didn't mean that, she just saw that it wouldn't matter. Being a law-
   abiding citizen is important to Plaintiff and she has never defaulted nor paid late.
   Plaintiff posed the question, were she to completely stop paying her credit would be
   as destroyed as it was when she paid in a timely manner every month. To this, Ms.
   Lees just laughed.

       Equifax and TransUnion never sent Ms. Douglass its investigation results as to
   the Bank of America hard inquiry, so in her mind perhaps it was never investigated.
   Neither the reports of the late payment (even though it was in dispute with USAA)
   and the hard inquiry.
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        The actions of Bank of America and USAA and Equifax and TransUnion have
    made Ms. Douglass realize that though she intended to keep up with her payments,
    they deliberately destroyed her credit as if she had never paid them at all. It made
    her lose complete faith in the system.

        Plaintiff was at a loss at how this could possibly be happening to her, given that
    Equifax, TransUnion and Bank of America knew that such information was
    obviously wrong, and that it would seem to be very easy to correct such a blatant
    error.

        Plaintiff began to think that Equifax, TransUnion, Bank of America and USAA
    were not conducting anyinvestigations into her disputes at all, nor cared whether or
    not they were reporting and disseminating false and highly damaging information
    about her.

       After the reporting of USAA that Ms. Douglass had not paid a card that was in
    dispute over a bank error, she got notice that she was dropped from yet a third card.
    Ms. Douglass lives in fear that USAA will drop her from her cards due to Ms.
    Maureen Michael threatening this action.

       As of today, Ms. Douglass's Equifax and TransUnion credit report continues to
    paint this false and damaging picture of Plaintiff.

       At this point, Plaintiff is at a complete loss as to what else she can do.

        Plaintiff is left to question how and why she is supposed to prove that the
    Bank of America entries are incorrect as reported, and why Bank of America and
    USAA, TransUnion and Equifax are allowed to get away with skirting their
    obligations under federal law to report only accurate information about her.

       The entire experience has imposed upon Plaintiff significant distrust, frustration
    and distress, and has rendered Plaintiff hopeless as to her ability to regain her good
    name and the credit rating that she deserves and has worked hard to earn.

        Ultimately, Plaintiff has desired to take advantage of credit opportunities, most
    notably, to remain in school but has been unable to do so because of Bank of
    America's and USAA's and Equifax and TransUnion's failure to report only accurate
    information about Plaintiff.

       As a result, Plaintiff has been forced to consider dropping out of school.

       In light of what has transpired, Ms. Douglass has justifiably avoided applying for
    additional credit until the inaccurate information is ultimately corrected on her
    credit report.
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       As of today, Plaintiff remains unable to see how far this has affected her credit,
    because of the inaccurate credit data being reported by USAA, Bank of America,
    Equifax and TransUnion.

       Absent litigation, Plaintiff believes she will forever be harmed by the lack of
    procedures Bank of America, USAA and Equifax and Transunion have in place to
    assure the maximum possible accuracy of Plaintiff's credit report.

        On March 8, 2016 Amberlie Scott called Ms. Douglass from Bank of America and
    told her that though they electronically sent the information to TransUnion to
    remove the hard inquiry from her credit report on January 27, 2014, it was not
    completed by TransUnion.

        On March 8, 2016 Amberlie Scott also said that though Bank of America lowered
    Ms. Douglass' limits due to a misreporting of USAA showing a delinquent late
    payment, that they had zero intention of re-establishing her credit lines. She
    apologized that it is impacting Ms. Douglass' credit scores but said that they could
    not re-establish the same line due to inside protocol. Ms. Douglass said she was
    considering litigation and perhaps Ms. Scott should ask legal counsel to contact Ms.
    Douglass first, and Ms. Scott said this case was not actually something she was that
    concerned about. And though Ms. Scott said that this was actually something that
    was doing enormous damage to Ms. Douglass credit reputation, that again, she
    confirmed short of litigation, there was nothing Ms. Douglass could possibly do. Ms.
    Douglass re-iterated that it was due to a mistake by USAA and Ms. Scott said, that is
    not Bank of America's problem. Ms. Scott confirmed that putting back her limits to
    what they were, would result in asking for an extension of credit line, even though
    they lowered two cards due to a mistake made and admitted to by USAA.

        On March 8, Ms. Douglass received replies from both TransUnion and Equifax,
    Equifax said they were placing a fraud alert on Ms. Douglass' account, which had
    nothing to do with the letter Ms. Douglass sent. She only sent a letter requesting that
    the hard inquiry from Bank of America be removed.


    COUNT ONE
    VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

        Plaintiff hereby incorporates by reference all well-pleaded allegations contained
    in the preceding paragraphs as if fully rewritten herein.

        A "consumer reporting agency" is defined by the FCRA as follows:
    [A]ny person which, for monetary fees, dues, or on a cooperative nonprofit basis,
    regularly engages in whole or in part in the practice of assembling or evaluating
    consumer credit information or other information on consumers for the purpose of
    furnishing consumer reports to third parties, and which uses any means or facility
    of interstate commerce for the purpose of preparing or furnishing consumer
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    reports. 15 U.S.C. § 1681a(f).

       Equifax and TransUnion are a "consumer reporting agency" as defined by the
    FCRA.

       USAA and Bank of America are "furnishers" as that term is used in Section
    168 ls-2 of the FCRA.

        Section 1681n of the FCRA imposes civil liability on any CRA or furnisher "who
    willfully fails to comply with any requirement" of the Act. See 15 U.S.C. § 1681n(a).

        Section 16810 of the FCRA provides for civil liability against any CRA or
    furnisher which is negligent in failing to comply with any requirement imposed
    under the Act.

    Equifax's and TransUnion Failure To Adopt and/or Follow Reasonable Procedures

        The FCRA mandates that "[w]henever a consumer reporting agency prepares a
    consumer report it shall follow reasonable procedures to assure maximum possible
    accuracy of the information concerning the individual about whom the report
    relates." 15 U.S.C. § 1681e(b).

       On numerous occasions, Equifax and TransUnion has prepared a patently false
    consumer report concerning Plaintiff.

        Despite actual and implied knowledge that Plaintiff did not know of the hard
    inquiry and that USAA's "adjustment" was in dispute and given Bank of America's
    willful promise to remove a knowable mistake, Equifax and TransUnion readily sold
    such false reports to one or more third party, thereby misrepresenting Plaintiff, and
    ultimately, Plaintiff's creditworthiness.

        On each such instance, Equifax and TransUnion willfully and/or negligently
    failed to follow reasonable procedures to assure maximum possible accuracy of the
    consumer reports it prepared and/or published pertaining to Plaintiff, in violation
    of Section 1681e(b).

        Through Plaintiff's communications with Equifax and TransUnion, Equifax
    knows, or has sufficient reason to know, that when it prepares and sells a consumer
    report about Plaintiff, the information it is circulating is extremely inaccurate and
    damaging to Plaintiff. Nevertheless,Equifax and TransUnion has taken no measures
    to stop painting a false and damaging picture about Plaintiff causing more than
    three cards to substantially lower the limits so that Ms. Douglass could not pay her
    school bills.

        Plaintiff remains unable to obtain credit because of the grossly
    inaccurate credit file maintained by Equifax.
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        Plaintiff has suffered out-of-pocket loss as a result of Equifax's willful and/or
    negligent violations of the FCRA including, without limitation, the premiums
    Plaintiff must spend for a credit monitoring service.

        Plaintiff is not currently free to take advantage of various credit opportunities
    available to other consumers because of Equifax's failure to report only accurate
    information
    about her.

        As a direct and proximate result of Equifax's willful and/or negligent refusal to
    follow reasonable procedures to assure "maximum possible accuracy" as specifically
    mandated by the FCRA, Plaintiff has suffered loss and damage including, but not
    limited to: economic loss due to denial of credit that she once had, loss of
    opportunity to obtain credit, damage to reputation,
    expenditure of considerable time and out-of-pocket expenses, worry, fear, distress,
    frustration and embarrassment, entitling her to an award of actual damages in
    amounts to be proved at trial,plus attorneys' fees together with the costs of this
    action pursuant to 15 U.S.C. § 1681o.

        Upon information and belief, Equinox has been sued on multiple occasions over
    the past ten (10) years for falsely reporting that an individual was "a bad payer,"
    despite being on notice that such a bank reported falsely.

        Upon information and belief, Equifax and TransUnion have exhibited a pattern of
    refusing to follow reasonable procedures as mandated by the FCRA, ultimately
    valuing its own bottom line above its "grave responsibility" to report accurate data
    on consumers.

        Equifax and TransUnion's pattern of refusal to follow reasonable procedures as
    mandated by the FCRA reveals a conscious disregard of the rights of Plaintiff. The
    injuries suffered by Plaintiff are attended by circumstances of fraud, malice, and
    willful and wanton misconduct, entitling Plaintiff to statutory damages, punitive
    damages, attorneys' fees and costs pursuant to 15 U.S.C. § 1681n(a)(2).

    Equifax's and TransUnion Failure To Conduct Reasonable Reinvestigations

        The FCRA mandates that a CRA conduct an investigation of the accuracy of
    information "[i]f the completeness or accuracy of any item of information contained
    in a consumer's file" is disputed by the consumer. See 15 U.S.C. § 1681i(a)(1). The
    Act imposes a 30-day time limitation for the completion of such an investigation. Id.

        The FCRA provides that if a CRA conducts an investigation of disputed
    information and confirms that the information is, in fact, inaccurate, or is unable to
    verify the accuracy of the disputed information, the CRA is required to delete that
    item of information from the consumer's file. See 15 U.S.C. § 1681i(a)(5)(A).
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        On multiple occasions in 2015, Ms. Douglass has initiated disputes with Equifax
    requesting that they correct and/or delete a specific item in her credit file that is
    patently inaccurate, misleading and highly damaging to her, namely, references to
    her being "a late or bad payer" within the USAA trade line.

         Plaintiff specifically advised Equifax and TransUnion on numerous occasions
    that a mistake hadbeen made, provided all necessary information to Equifax and
    TransUnion to support same, and requested the trade line be corrected accordingly,
    i.e., any references to "being a bad payer" and "any hard inquiries from Bank of
    America that were not permissible" be deleted.

        Either Equifax and TransUnion conducted no investigation of Ms. Douglass's
    disputes, or such"investigations" were so shoddy as to allow objectively false and
    highly damaging information to remain in Ms. Douglass's credit file. In writing Ms.
    Douglass received a letter stating that the investigation resulted in a fraud alert
    going on Ms. Douglass' credit report, something that Ms. Douglass did not initiate.

       By failing to conduct a reasonable investigation into Plaintiff's disputes in this
    regard, Equifax and TransUnion willfully and/or negligently violated 15 U.S.C. §
    1681i(a)(1) with respect to each dispute lodged by Plaintiff.

        As a direct and proximate result of Equifax's and TransUnion's repeated
    disregard for each of Plaintiffs disputes as outlined above, Plaintiff has suffered a
    significant loss of trust in the credit reporting system and its accountability to the
    average consumer.

        As a direct and proximate result of Equifax's and TransUnion's willful and/or
    negligent refusal to conduct reasonable investigations as mandated by the FCRA as
    outlined above, Plaintiff has suffered loss and damage including, but not limited to:
    economic loss due to denial of credit, loss of opportunity to obtain credit, damage to
    reputation, expenditure of considerable time and out-of-pocket expenses, worry,
    fear, distress, frustration and embarrassment, entitling her to an award of actual
    damages in amounts to be proved at trial, plus attorneys' fees together with the
    costs of this action pursuant to 15 U.S.C. § 1681o.

        Upon information and belief, Equifax and TransUnion have been sued on
    multiple occasions over the past ten (10) years for refusing to correct its patently
    false reporting of an individual as "a bad payer," despite being on notice that this
    information was totally and patently false.

        Upon information and belief, Equifax and TransUnion have exhibited a pattern of
    refusing to correct consumer credit files despite being on notice of patently false
    information contained in such files, ultimately valuing its own bottom line above its
    "grave responsibility" to report accurate data on consumers.
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    92. Equifax and TransUnion's pattern of refusal to correct patently false information
    as mandated by the FCRA reveals a conscious disregard of the rights of Plaintiff. The
    injuries suffered by Plaintiff are attended by circumstances of fraud, malice, and/or
    willful and wanton misconduct, calling for statutory damages, an assessment of
    punitive damages against Defendant, plusattorneys' fees and costs pursuant to 15
    U.S.C. § 1681n. USAA and Bank of America's Bank's Failure To Conduct Reasonable
    Reinvestigations.

    93. Furnishers of credit information have a duty under the FCRA to investigate
    disputes from consumers as to the accuracy of information reported about them, to
    wit:
    After receiving notice pursuant to section 611(a)(2) [§ 1681i] of a dispute with
    regard to the completeness or accuracy of any information provided by a person
    to a consumer reporting agency, the person shall:
        conduct an investigation with respect to the disputed information;
        review all relevant information provided by the consumer reporting agency
    pursuant to section 611(a)(2) [§ 1681i];
        report the results of the investigation to the consumer reporting agency;
         if the investigation finds that the information is incomplete or inaccurate,
    report those results to all other consumer reporting agencies to which the person
    furnished the information and that compile and maintain files on consumers on a
    nationwide basis; and
        if an item of information disputed by a consumer is found to be inaccurate or
    incomplete or cannot be verified after any reinvestigation under paragraph (1), for
    purposes of reporting to a consumer reporting agency only, as appropriate, based
    on the results of the reinvestigation promptly -
       modify that item of information;
        delete that item of information; or
          permanently block the reporting of that item of information.
    See 15 U.S.C. § 1681s-2(b)(1).
    USAA violated this act, actually writing to Ms. Douglass and telling her in writing
    that no further investigation will be made. Bank of America did not investigate or
    dispute it at all, citing that this hard inquiry will not be removed and the only
    investigation we can do to restore your credit will further damage your credit
    resulting in a hard inquiry.

    94. On or around November 2, 2015, Plaintiff contacted Equifax and TransUnion to
    dispute the accuracy of the information being reported about her.

    95. Upon information and belief, pursuant to 15 U.S.C. § 1681i(a)(2), USAA and Bank
    of America received notification of this dispute from Equifax and TransUnion.

    96. By the time USAA received this credit bureau dispute, USAA had already
    been contacted on over 45 occasions by Plaintiff, advising USAA that it had reported
    her as a bad or late payer, causing Bank of America to drop her limits in the amount
    of $6000. Equifax and TransUnion credit report was not reflecting the disputes no
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    matter how many times she tried to explain in writing and verbally to them and that
    it was causing her problems with being approved for credit.

        USAA failed to conduct a reasonable investigation into the accuracy of
    information related to the disputed "adjustment", in violation of Section 1681s-
    2(b)(1).

        Notwithstanding USAA's actual knowledge that Plaintiff's "debt" was not a
    purchase but an actual mathematical error, USAA's failure to conduct a reasonable
    investigation of the accuracy of its reporting of this adverse information shows a
    reckless disregard for Plaintiff's rights under the FCRA. USAA also failed to report
    this dispute to TransUnion and Equifax instead turning Ms. Douglass in to Collection
    Agency (USAA owned) and reporting Ms. Douglass' account as delinquent even
    though she had repeatedly tried to dispute this "ghost adjustment" on two separate
    cards. (One in the amount of $1000 and the other in the amount of $500 plus
    interest and plus late fees even though this was disputed).

        In addition to the violation as described above, Bank of America and USAA failed
    to satisfy their duty under Section 168 ls-2(b) of updating incomplete or inaccurate
    information it had previously reported to CRAs upon receipt of each notice from
    Equifax and TransUnion that Plaintiff disputed the accuracy of the previously
    reported information.

        In addition to the violation as described above, USAA failed to satisfy their duty
    under Section 1681s-2(b) and employed itself as its own collection agency.

         USAA's failure to report that Plaintiff disputed the accuracy of the "dispute"
    was a failure to accurately update the information because it was "misleading in
    such a way that caused Bank of America to drop Ms. Douglass limits from two cards,
    grossly affecting her life, reputation, credit reputation and the like.
    to such an extent that it [could] be expected to have an adverse effect" on Plaintiff.
    See: Gorman v. Wolpoff& Abrasion, LLP, et al., 584 F.3d 1147 (9th Cir. 2009); See
    also Saunders v. Branch Banking & Trust Co. of Va., 526 F.3d 142 (4th Cir. 2008).

         As a direct and proximate result of USAA and then Bank of America's willful
    and/or negligent refusal to comply with the FCRA as outlined above, Plaintiff has
    suffered substantial loss and damage including, but not limited to: economic loss
    due to denial of credit line, loss of opportunity to obtain credit, damage to
    reputation, expenditure of considerable time and out-of-pocket
    expenses, worry, fear, distress, frustration and embarrassment, entitling her to an
    award of actual damages in amounts to be proved at trial, plus attorneys' fees
    together with the costs of this action pursuant to 15 U.S.C. § 1681o.

         USAA and Bank of America's complete and utter indifference as to its
    obligations under the FCRA reveals a conscious disregard of the rights of Plaintiff,
    and the injuries suffered by Plaintiff are attended by circumstances of fraud, malice,
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   and willful and wanton misconduct, calling for an assessment of punitive damages
   against USAA and Bank of America, TransUnion and Equifax, pursuant to 15 U.S.C. §
   1681n(a)(2).

   WHEREFORE, Plaintiff, Lisa
   Douglass, respectfully prays this Court for the
   following relief:

       Actual damages in an amount to be proved at trial;
       Punitive damages as provided for by 15 U.S.C. § 168 ln(2);
       Statutory damages as provided for by 15 U.S.C. § 1681n(2);
       Costs and attorneys' fees as provided for by 15 U.S.C. § 168 ln(3) and
    15 U.S.C. § 1681o(2); and
       Such other and further relief as this Court deems just and proper.

    Dated this _8, March, 2016. Respectfully submitted.


    JURY DEMAND
    Plaintiff respectfully demands a trial by jury on all issues so triable in this lawsuit.
    Dated this 12th day of March, 2016.

    DAE          12 dayo arch 2016.
                                       Plaintiff
    C T ICATE SERVICE
    The undersigned h eby certifies that he/she served the attached Complaint to all parties
    herein by mailing a copy by First Class United States Mail, postage prepaid to the
    addresses identified below.

    TransUnion, Corporation
    DBA
    United States Corporation Company
    2710 Gateway Oaks Dr. Ste. 150
    Sacramento, CA 95833

    Equifax, Inc.
    DBA CSC—Lawyers Incorporating Service
    United States Corporation Company
    2710 Gateway Oaks Dr. Ste. 150
    Sacramento, CA 95833

    Bank of America Corporation, Inc.
    (CT Corporation System)
    818 West Seventh St. Ste. 930
    Los Angeles, CA 90017
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   USAA Casualty Insurance Company, Inc.
   (CT Corporation System)
   818 West Seventh St. Ste. 930
   Los Angeles, CA 90017


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   101 s. Sycamore Av. #5
   Los Angeles, CA 90036
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   323-346-5175
